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                                  United States District Court
                                   District of Massachusetts



___________________________________


UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )
                                              ) Criminal Action No. 19-cr-40025-TSH
JUNIOR MELENDEZ                               )
                                              )
                                              )
       Defendant                              )
____________________________________




  FINDINGS AND ORDER ON DEFENANT JUNIOR MELENDEZ’ MOTION TO SUPPRESS
             WARRANT GPS TRACKING MERCEDES (Document # 200)

                                              April 23, 2021
                                               Introduction
       The defendant Junior Melendez moves to suppress from the introduction into evidence

against him at trial the results of a court authorized GPS device installed on a Mercedes Benz

automobile that he began using in May of 2019. He assigns as reasons for the suppression that

the affidavit in support of the search warrant failed to establish probable cause that he was

engaged in criminal activity and that the tracking of the Mercedes would provide evidence of

that criminal activity. For the reasons set forth below, that motion is denied.
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                                                      Background
        In July of 2018, Worcester police and the ATF began investigating the defendant Junior

Melendez and his associates for drug and firearm offenses. Mr Melendez was known to the

police after having been convicted of similar offenses in 2006, and for which he served a lengthy

(109 month) sentence. Mr. Melendez was identified by the police as the leader of the

Massachusetts chapter of the Almighty Vice Lords, a violent street gang. In March of 2019 the

government obtained authorization to intercept wire and electronic communications from Mr

Melendez’ cell phone. On April 12, 2019 the police obtained a warrant for the location

information for that phone. On April 22, 2019, based upon the information received from the

wiretap and the phone location warrants, ATF Special Agent Anthony Ventetuolo applied for

and received a warrant authorizing GPS tracking on a Jaguar SUV that Mr. Melendez was using.

On May 31, 2019 Agent Ventetuolo applied for and received a search warrant authorizing GPS

tracking on a black Mercedes C300 which is the subject of this motion to suppress. 1

         That warrant application by agent Ventetuolo also incorporates a search warrant affidavit

for cell phone location information for Mr. Melendez’ cell phone. Those affidavits clearly

establish that Mr. Melendez continuously utilized the above motor vehicles in furtherance of the

drug distribution conspiracy. Until April 15th of 2019, Mr. Melendez utilized the Black

Mercedes C300 sedan. From April 17th until May 29th of 2019 he utilized a black Jaguar SUV,

and after May 29th, 2019 he used the gray Mercedes C300 target automobile.



1
  Prior to April 16, 2019 Melendez used a Mercedes C300 automobile. Melendez acquired the Jaguar SUV as a
rental after that Mercedes was involved in a single car accident on April 16th. He obtained the subject Mercedes on
May 29th from Extreme Auto Repair in Worcester. It is unclear from the pleadings and affidavits whether the
Mercedes automobile which is the subject of this motion is the same vehicle that was involved in the accident on
April 16, 2019. I will note parenthetically that the earlier Mercedes C300 was described as black and the subject
Mercedes C300 as gray.
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       The affidavits are replete with instances of Mr. Melendez using his automobile to

facilitate the distribution of narcotics. On April 3rd, 2019 Melendez and co-defendant Antoine

Mack first met at Melendez’ is residence at 26 Malvern Rd in Worcester and later at one of the

conspiracy’s drug distribution houses at 69 Cutler St in Worcester to conduct a drug sale.

Melendez’ Mercedes C300 was parked in the driveway of 69 Cutler Street and thereafter

Melendez, Mack, and co-defendant Richards conducted what the authorities believed to be a

drug sale.

       On April 15th, 2019 agents intercepted telephone calls between Melendez and Lawrence

Rutherford in which Rutherford requested two ounces of cocaine from Melendez, and

Melendez arranged for Rutherford to pick up the cocaine at an associate's residence at 10

Pattison Street in Worcester. On April 19th, 2019 agents intercepted calls between Melendez and

David Nevins during which the men discussed the purchase of cocaine and coordinated a

meeting at 10 Pattison Street for the transfer. Agents observed the Jaguar at the location when

Nevins arrived for the transaction.

       On May 16th 2019, Melendez an co-defendant Angel Cordova conducted a drug sale at

26 Malvern Rd in Worcester and Melendez’ Jaguar SUV was present at that address. On May

25th 2019, Cordova and Melendez conducted a drug sale at a trailer park at 151 Hartford

Turnpike in Shrewsbury which was believed to be Melendez’ home. Melendez’ Jaguar SUV

was parked outside of the trailer and pole cameras observed Melendez exit the trailer park in the

Jaguar, return approximately 40 minutes later, and enter the trailer with co-defendant Richards.

Thereafter, Richards left carrying a white bag. Richards was stopped by state police troopers and

over 200 grams of powder cocaine and 115 grams of crack cocaine was seized .
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                                                 Discussion
  The Ventetuolo affidavits clearly establish that Mr Melendez was actively engaged in

distributing controlled substances and using his vehicles to facilitate that distribution. An

application for a search warrant must establish a probable cause to believe; (1) a crime has been

committed, (the “commission” element), and (2) enumerated evidence of the offense will be

found at the place to be searched. The so-called “nexus” element. The United States v. Vayas-

Diaz 95 F.3d 105, 111 (1st Cir. 1996). With regard to the nexus element, the task of a magistrate

judge in determining whether probable cause exists is “to make a practical, common-sense

decision whether, given all circumstances set forth in the affidavit before him . . . there is a fair

probability that contraband or evidence of a crime will be found in a particular place.” United

States v. Feliz 182, F.3d 82, 86 (1st Cir. 1999). Quoting from Illinois v. Gates 462 U.S. 213. 238

(1983). Here, there are numerous specific instances in April and May of 2019 which provide

ample probable cause for the issuing magistrate to conclude that Mr. Melendez was using the

Mercedes to facilitate the distribution of cocaine and that the requested GPS information would

provide verification of Melendez’ physical locations during the drug transactions.

   The Government also argues that the good faith exception should apply here. United States v.

Leon, 468 U.S. 897 (1984). The good faith exception provides that even if a search warrant is

flawed, the evidence should not be suppressed where “the police act with an objectively

reasonable good faith belief that their conduct is lawful.” Davis v. U.S. 131 Sup. Ct. 2419, 2422

(2011). The good faith exception would not apply if the affiant misled the magistrate, or

demonstrated a reckless disregard for the truth, or the magistrate wholly abandoned his judicial

duty, or probable cause is so lacking that belief that probable cause did exist is “entirely
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unreasonable,” Leon Supra at 923. I find that none of those four conditions exist; namely there

is no misleading information in the affidavit and that the good faith exception applies.




                                           Conclusion

   For the reasons set forth above, the Defendant’s Motion to Suppress is denied.




                                                     /s/Timothy S. Hillman
                                                     Timothy S. Hillman
                                                     District Judge
